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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

                                                  )
 UNITED STATES SECURITIES                         )
 AND EXCHANGE COMMISSION,                         )
                                                  )
                         Plaintiff,               )       Civil Action No. 18-cv-5587
                                                  )
 v.                                               )       Hon. John Z. Lee
                                                  )
 EQUITYBUILD, INC., EQUITYBUILD                   )       Magistrate Judge Young B. Kim
 FINANCE, LLC, JEROME H. COHEN,                   )
 and SHAUN D. COHEN,                              )
                                                  )
                         Defendants.              )
                                                  )

ORDER APPROVING RECEIVER’S FIRST INTERIM APPLICATION AND MOTION
      FOR COURT APPROVAL OF PAYMENT OF FEES AND EXPENSES
       OF RECEIVER AND RECEIVER’S RETAINED PROFESSIONALS

         Kevin B. Duff, as the receiver (“Receiver”) for Estate of Defendants EquityBuild, Inc.,

EquityBuild Finance, LLC, their affiliates, and the affiliate entities of Defendants Jerome Cohen

and Shaun Cohen (collectively, the “Receivership Defendants”), having filed a First Interim

Application And Motion For Court Approval Of Payment Of Fees And Expenses Of Receiver And

Receiver’s Retained Professionals (Docket No. 411), the Court having conducted a hearing on the

motion and for good cause shown, IT IS HEREBY ORDERED THAT:

         The Receiver’s Motion is granted for the reasons stated by the Court on the record.




                                       Entered:       ______________________________
                                                      Honorable John Z. Lee


                                                      Date: 10/15/19
